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                                     #:23472



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10
                                      United States District Court
11
12                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

13
        JENNY LISETTE FLORES, et al.,               )   Case No. CV 85-4544 DMG (AGRx) 
14
                                                    )
15               Plaintiffs,                        )   [PROPOSED] ORDER CONTINUING DUE
        - vs -                                      )   DATE OF PARTIES’ SUBMISSIONS RE
16
                                                    )   APPOINTMENT OF A SPECIAL
17      JEFFERSON B. SESSIONS, ATTORNEY             )   MASTER/INDEPENDENT MONITOR AND
        GENERAL, U.S. DEPARTMENT OF                 )   DEFENDANTS’ RESPONSES TO
18      JUSTICE, et al.,                            )   PLAINTIFFS’ DECLARATIONS
19                                                  )
                 Defendants.                        )   Hearing: N/A
20                                              _
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     Case 2:85-cv-04544-DMG-AGR Document 473-1 Filed 08/20/18 Page 2 of 4 Page ID
                                     #:23473


1       Plaintiffs’ counsel, continued
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1             The parties have stipulated to a second one-week continuance of the submission
2
        date for the Parties’ position(s) regarding the appointment of a Special
3
        Master/Independent Monitor and Defendants’ filing responding to Plaintiffs’
4
5       declarations ordered to be filed on August 10, 2018. See Minute Order [Docket # 469].
6
              UPON CONSIDERATION of the Parties’ Stipulation and for the reasons set
7
        forth therein, the Court hereby ORDERS that the Parties shall file their submission(s)
8
9       regarding the appointment of a Special Master/Independent Monitor, and Defendants
10
        shall filed their response to Plaintiffs’ declarations, on or before August 24, 2018.
11
12            IT IS SO ORDERED.
13
14      Dated: August __, 2018
15
                                                ______________________________
16                                              THE HONORABLE DOLLY M. GEE
17                                              UNITED STATES DISTRICT JUDGE

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                                     #:23475


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2
3
                                        CERTIFICATE OF SERVICE
4
5             I, Peter Schey, declare and say as follows:
6
              I am over the age of eighteen years of age and am a party to this action. I am
7
        employed in the County of Los Angeles, State of California. My business address is
8
9       256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
10
              On August 20, 2018, I electronically filed the following document(s):
11
12
         [PROPOSED] ORDER CONTINUING DUE DATE OF PARTIES’ SUBMISSIONS RE
13           APPOINTMENT OF A SPECIAL MASTER/INDEPENDENT MONITOR AND
             DEFENDANTS’ RESPONSES TO PLAINTIFFS’ DECLARATIONS
14
15      with the United States District Court, Central District of California by using the
16
        CM/ECF system. Participants in the case who are registered CM/ECF users will be
17
18      served by the CM/ECF system.
19                                                   /s/Peter Schey
20
                                                     Attorney for Plaintiffs
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